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AO 91 (Rev. 5185) Criminal Complaint



                                            United States District Court riLED IN CLERK'S 0
                                                                                                       V.S.D C   G'     FF1CE
                                                   NORTHERN DISTRICT OF GEORGIA                             '.   ltUlesviJla


UNITED STATES OF AMERICA
                           v.                                                  CRIMINAL co~_.

EMORY DAN ROBERTS

                                                                               (UNDER SEAL)


  (Name and Addre" ofDefi:ndant)




I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and belief.
Beginning on date unknown, and continuing until on or about November 1,2011, in White and Stephens Counties, Georgia and
elsewhere, in the Northern District of Georgia defendant did,

combine, conspire, confederate, agree and have a tacit understanding with Frederick W. Thomas, and others known and unknown,
to knowingly receive and possess firearms, specifically, a destructive device and a silencer not registered to them in the National
Firearms Registration and Transfer Record in violation of Title 26, United States Code, 5861(d) and 5871




in violation of Title II United States Code, Section(s) 371.

I further state that I am a Special Agent of Federal Bureau ofInvestigation and that this complaint is based on the following facts:

See attached affidavit.




Continued on the attached sheet and made a part hereof.                        (X) Yes           () No




Based upon this complaint, this Court fmds that there is probable cause to believe that an offense has been committed and that
the defendant has committed it. Sworn to before me, and subscribed in my presence


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"-':.:::0....                         1.... _ _ _ _ _ _ _ _ _ _ _ at   Gainesville, Georgia
Date                                                                   City and State


SUSAN S. COLE
United States Magistrate Judge
Name and Title of Judicial Officer                                     Signature of Judicial Officer
AUSA Jeffrey A Brown
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                                                       AFFIDAVIT


       I   t   David Wylie,                  being first duly sworn,                  do hereby depose

and State:

       1.         I     am    a     Special             Agent        with   the     Federal       Bureau       of

Investigation (FBI)                 and have been so employed for approximately

twenty            five       years.               I    am currently assigned                to    the       FBI' s

office in Gainesville                    l    Georgia.             My investigative responsibility

includes        investigating                     different         federal      crimes     such       as    bank

robbery,       bank fraud,                   mortgage fraud and domestic terrorism.                              I

have       been        involved              in       investigations            relating     to        domestic

terrorism         and        have        participated               in    the     execution       of       search

warrants        and         seized           evidence         that       relates     to    violations          of

domestic terrorism statutes.                                  I know the following principally

based on          information obtained                        from my       investigation and                from

other law enforcement officers.

       2.         As    a    federal              agent   I    I    am authorized to             investigate

violations of laws of the United States and to execute warrants

issued under the authority of the United States.

       3.      This affidavit is in support of a request for a federal

search warrant to be served upon and executed at the residence

of Emory Dan Roberts                 l        1171 Jordan Road,                 Toccoa,    Georgia     I    30577

more   fully described as a                            single story family residence frame

                                                              1
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house located within Stephens County.                                          The exterior is yellow

siding with a front covered entrance.                                         The property consists of

1.8    acres       which          includes           the     main residence                and outbuildings

separated from the main residence.                                      The property is recorded on

the Stephens County tax map as parcel number 032D 049i to search

for evidence           l    contraband and fruits of a crime as set forth in

Exhibit B          (attached hereunto and expressly incorporated herein

by     this   reference)               I     as    well     as        any    vehicles         located     on       the

property and any out buildings located on the properties.                                                      I    am

also requesting authority to search the properties referenced in

paragraph          3        and    any            computers      I     and    computer          media    located

therein where the items speci                               ed in Attachment B may be found,

and      to    seize               all            items      listed            in        Attachment        B        as

instrumentalities,                         fruits,     and           evidence       of    a     conspiracy          to

possess       an           unregistered              silencer           and     destructive         device          in

violation      of           Title          26,     United        States       Code,       Sections      5861 (d) ,

5871, all in violation of Title 18, United States Code, Section

371,     Conspiracy               to        murder     federal          officials          in    violation          of

Title 18, United States Code, Section 1117, Theft of Government

Property and Title 18, United States Code, Section 641.

        4.     This affidavit is also being submitted for the purpose

of securing a complaint and warrant Emory Dan Roberts                                                   (ROBERTS)

for     conspiring                to         IPossess        an        unregistered             silencer           and
                                                             2
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destructive device                  in violation of Ti                e     26 United State Code,

Sections         5861 (d),         5871,        all    in violation          of    Title          18,    United

State     Code,           Section 371.             I    have not      included each and every

known         fact    concerning           this        investigation;            rather,      I     have         set

forth     only        the       facts      believed necessary               to    establish probable

cause         for     the         issuance               the     requested             search       warrant,

complaint and arrest warrant.                             However,        even though I             have not

included every fact                   known to date             in this          investigation,              I    do

not   believe anything has been omitted which would vitiate                                                      the

probable cause set forth herein.

                                BACKGROUND OF THE INVESTIGATION

        5.      On March 17,               2011,       the government's confidential human

source          (CHS1 )         consensually            recorded        a    clandestine                meeting

involving            members          of    a      fringe       group       of     a     known          militia

organization,              with the         fringe group calling itself                       the       "covert

group.   II      The meeting occurred at the residence of Frederick W.

Thomas         (THOMAS)         located at            2265 Dean Mountain Road,                    Cleveland,

Georgia,         30528,         and     attendees        at    the meeting             included THOMAS,

Emory Dan Roberts                  (ROBERTS),          and others.          At the outset of this

meeting,         the       attendees            began    discussing          and       then       displaying

various        weapons          each one         was     carrying on his               person.           THOMAS

mentioned            to     the    group         that     he    had     enough         weapons          to       arm

everyone at               the   table.          ROBERTS        and CHS1      either did not                  have
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weapons, or did not make them visible.

        6.      THOMAS became the primary speaker for the meeting and

began discussing overt and covert operations for the group.                                     He

mentioned a fictional novel he had read on-line in which an anti­

government group killed a large number of federal Department of

Justice attorneys,               and then he         stated,        "Now of    course,     that's

just fiction! but that's a damn good idea."                               THOMAS described a

scenario in which he felt would be the "line in the sand" that

would result in the activation of militias. THOMAS believed that

soon,    during a protest action! a protestor would be shot.                                It is

his     opinion            the   militias    would     act     and        respond    by    openly

attacking the police.                   He then openly discussed having compiled

what he called the "Bucket List" which is a list of government

employees,            politicians!        corporate     leaders       and     members     of   the

media he         feels       needed to be      "taken out      II    to    "make the country

right again.          II    THOMAS told the group he sent the list to a web

blog.

        7.            During      the     meeting,     THOMAS         made     the    following

statements:

                 a.        "The right people have to be taken down! and taken

                down soon.1I

                 b.        "There is no way for us,                 as militiamen,        to save

                this country,            to save Georgia, without doing something
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                that's highly highly illegal.                  Murder.      That's fucking

                illegal, but it's gotta be done."

                c.        "When it     comes   time    to   saving    the    Constitution,

                that means some people gotta die."

       8.      When murder was mentioned,               ROBERTS said he knew people

in Habersham County [Georgia] who had a substance that could kill

people      with      a   very     small   amount.      CHS1    suggested ROBERTS      was

talking about ricin,               and someone else agreed,           adding that ricin

is   made      from       castor beans.      The     conversation     then went    into   a

discussion about castor beans and possible ways to obtain them.

       9.      THOMAS spoke of the need for the group to acquire more

weapons,       ammo,       food,    and survival       gear and      then discussed the

need for the group to establish a silent means of taking people

out.     THOMAS suggested silencers for handguns, stating,                       "In order

to do what we want to do,                  take out the right people,          we have to

have some silent means of doing it.                         That means suppressors on

handguns."

         10.     THOMAS stated they needed to find a machinist with the

ability to manufacture silencers and not register them with the

ATF.       THOMAS said this was necessary to prevent them from being

traced back to an owner if they were lost. THOMAS also mentioned

a    gun       store       near     the    Georgia/South        Carolina     border   that

manufactures silencers and he commented that they should consider
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"hitting the truck,         II   meaning they should steal the silencers from

the trucks.

          11.   On April 3, 2011, CHSI consensually recorded a meeting

with THOMAS and ROBERTS at a restaurant in northeast Georgia. The

attendees          talked    about     acquiring         ammunition   and   equipment,

particularly silencers for firearms.                      THOMAS suggested that they

buy   I   steal,    make,   or attack a manufacturer's truck in order to

obtain the silencers.              THOMAS also talked again about his nBucket

  st" of people he thought should be killed.                     During the meeting,

THOMAS stated that he thought they could "fight off a SWAT team."

He also stated,         "I've been to war,              and I've taken life before,

and I can do it again."

          12.   On April 16,         2011,        CHSI consensually recorded another

meeting of the "covert group,                II    again at the residence of THOMAS

located at         2265 Dean Mountain Road,              Cleveland,   Georgia,    30528.

Attendees included CHSl, THOMAS, ROBERTS and others.                        During the

meeting THOMAS discussed the need for the group to start moving

forward with taking action in some of their previously discussed

plans, including a number of assassinations on various government

officials.

          13.      THOMAS also explained to the others present                   that he

intended to model their actions on the plot of an online novel

called Absolved.            The plot of Absolved involves small groups of
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citizens      attacking           United           States          federal         law       enforcement

representatives and federal                      judges.       THOMAS expressed his belief

that   they should conduct                   a   number of assassinations on various

government officials,                 and he particularly expressed a                          desire to

kill   Department          of    Justice          (DOJ)      and    Internal       Revenue         Service

(IRS) employees.

       14.      During           the        meeting,          THOMAS        made       the     following

statements:

       a. "Civilian government operatives is who we're going to be

         shooting at: IRS, ATF, FBI, and the cops."

       b. "Who is the primary topics,                          targets?        DOJ.       Everybody in

         DOJ.      That         includes         judges,       ATF,    IRS,    and the hierarchy

         thereof.     II




       c. "I could shoot ATF and IRS all day long.                                   All the judges

         and the DOJ and the attorneys and prosecutors. 'I

       15.   On April 29{ 2011 and April 30, 2011{ CHS1 consensually

recorded     conversations             between,            CHSl{   THOMAS      and       ROBERTS    while

traveling     to    and         from     a       meeting       held     in     south         Georgia    on

04/30/2011.        During         a    conversation            on April         30 {     2011{     THOMAS

mentioned     that,        while       at        the   meeting{        he     spoke       to   a    second

confidential       source         (CHS2)         about       acquiring        silencers.           THOMAS

rei terated the need for                the group to obtain silencers to shoot

people quietly.            THOMAS suggested they obtain unregistered,                                  .22

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caliber long rifles, cut them down and thread them to accommodate

a    silencer.          During the ride,            THOMAS asked ROBERTS whether he

(ROBERTS) thought they should try to grow their group larger, "or

stick to what we are planning on, assassinating 4 or 5 guys and

that's it?"         ROBERTS replied, "I think probably we need both."

          16.    On May 17,          2011,       CHS1 met with THOMAS and ROBERTS to

further         discuss       the     group's      plans.         (This     meeting     was    not

recorded. )         CHS1      reported that THOMAS               indicated the group was

ready to move            forward with acquiring silencers                       from an active

duty       soldier       in     the       U.S.     Army.         At     some    point    in    the

conversation,           explosives were mentioned and THOMAS became very

excited and said the group really needed to get some explosives.

THOMAS mentioned that he is very disgruntled with the IRS and the

Bureau of Alcohol Tobacco and Firearms                           (ATF).        THOMAS indicated

that       he    was      considering            driving    to        the   Atlanta     area     to

survey/locate IRS and ATF buildings.

          17.     ROBERTS mentioned he had recently been talking to a

former U.S. Army soldier in Stephens County (Georgia], described

as    a    "loose cannon,"            who has manufactured ricin.                  ROBERTS     said

that he had personally seen the ricin in powder form.

          18.      On     May       21,   2011,     CHS1    reported        that    THOMAS     was

scheduling a trip to Atlanta to conduct surveillance on the IRS

and ATF buildings on May 24,                       2011.    THOMAS invited ROBERTS and
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CHS1 to ride with him during the surveillance.

       19.    On May 24,      2011,    THOMAS and CHS1 drove to Atlanta in

THOMAS's 2006 Red GMC Canyon Pickup Truck, license plate Georgia

BMB 0821.      CHS1 consensually recorded the trip.                   THOMAS and CHS1

planned      and   conducted       surveillance    on    the    ATF    (2600   Century

Parkway, Atlanta, Georgia 30345) and the IRS                    (401 West Peachtree

Street NW, Atlanta,         Georgia 30308)        buildings to plan and assess

for possible attacks.

While driving,          THOMAS discussed with CHS1 the types of weapons

they   wanted      to    acquire    illegally.      While      driving     home     after

conducting the reconnaissance,            THOMAS and CHS1 discussed how to

conduct      further      surveillance    inside        and    how    to   attack     the

buildings with explosives.

       20.    During the trip to Atlanta, THOMAS made the following

statements:

       a.     "Let's shoot     the bastards that we discover are anti-

       American

or enemies of America,             treasonous.     And to me the easiest and

best way to do that is to walk up behind them with a suppressed

.22.    I am of the, uh, old school, Maf                ; one behind the ear with

a .22 is all you need."

       b.    "Of course a .40 Smith and Wesson or .45 ACP is just as

good, even better, cause it makes the whole head explode."
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     c.     "Now of course this trip is reconnoitering.                     There's two

schools of thought on this: go for the feds or go for the locals.

And I'm inclined to consider both."

     d.      "We'd have       to blow the     whole      building,         like   Timothy

McVeigh."

     e.     "If we were gonna blow the buildings, it would be smart

to hit 'em both at the same time."

     f.       "Plant    the    explosive     right      up    against      the    wall,     a

shaped charge.       We can do it.     Okay, let's do it then."

     g.     "We can also do our own homework on making from scratch,

mortars, what the hell's that, claymores, and grenades."

     h.     "We've gotta have a lot of explosives."

     21.     On April 30, 2011, CHS2 consensually recorded a meeting

with THOMAS at a rest stop near Macon, Georgia.                      THOMAS expressed

an interest in acquiring weapons, silencers, and explosives from

CHS2, and he provided CHS2 with a handwritten list of 28 items he

would like to acquire for the covert group.                    The list consists of

firearms,    silencers,       and   explosives.          THOMAS       was    under        the

impression    that     CHS2    could   obtain     the        items   for    the    group.

THOMAS informed CHS2 that the covert group was looking for ways

to conduct assassinations.

     22.       On    June     9,             an   undercover         employee        (UCE)

consensually recorded a            meeting with THOMAS           and ROBERTS         at     a
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restaurant in Lavonia, Georgia.                          (The UCE had been introduced to

THOMAS      by   CHS2       as   an    acquaintance            who    deals    in    black    market

weapons. )       During the meeting, THOMAS told the UCE that the group

would like to purchase silencers and explosives from the UCE. The

UCE advised that he could probably obtain the requested materials

for them.         THOMAS explained to the UCE that the "covert group"

was planning to carry out the actions of the main characters from

the   book       Absolved.            THOMAS    told          the    UCE   that     he    considered

himself to be expendable at his age, and was prepared to die if

necessary.         Both THOMAS and ROBERTS told the UCE that they have

specific     targets         in mind.          THOMAS added that               they had already

conducted        surveillance           in     support          of    their       plan.       THOMAS

discussed        the        manufacture        of        shape       charges      and     electronic

detonators,        saying,        "I    can    make       a    detonator,      electronically.     /I




At one point during the meeting, THOMAS also stated "We know what

we wanna do.           We know how to do it. But we need (unintelligible)

prepared to do it,               so that's what we're doing now ... Making the

preparations, getting what we need so that when we go about doing

it,   we are equipped.             Don't know when that's gonna be i                       wi thin a

year I'm sure.         II    Later in the meeting the UCE asks about their

proposed time frame for acquiring explosives and silencers being

about a year, and ROBERTS responds, "a little less./I

      23.        THOMAS also made the following statements during the
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described meeting:

        a.     "Yea, uh, claymore mines, we can make these things, but

        I'd

rather have store bought, a real one."

        b.     "I could go to the guy's house, I could find his house,

okay, and shoot him in his back yard, as far as that goes."

        c.      "We need to place wi thin an ATF or DEA big black van.

When they fill up their people, we're gonna take 'em all out at

once."

        d.     "I ain't worried about dying."

        24.      On June 24, 2011, CHS1 consensually recorded a meeting

with THOMAS and ROBERTS in northeast Georgia to discuss bringing

another individual               into the covert group.               During the meeting,

THOMAS talks about having "reconnoitered" government buildings in

Atlanta.        THOMAS then says, "And uh, they're surrounded by office

buildings.           Now that doesn't mean we can't get at the building.

We can blow the buildings up.                         It's doable.       But uh,      it also

means        that    if    you're      stationed      somewhere    in    another     building

nearby,        or    on,   not    on    a    roof,    but   inside,     you    can   take    out

selected people with a sniper rifle and suppressor."

        25 .        On June 28,        2011,    CHS2 made a       consensual I y     recorded

phone     call       to THOMAS.         THOMAS       expressed interest         in obtaining

weapons        and    equipment        for     the    "covert   group"        from   the    UeB.

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THOMAS stated that he and the other members of the group have

begun physical training and fitness to prepare for the physical

demands that their plans may require.

       26.      On July 13,      2011,   ueE placed a consensually recorded
call to THOMAS.         THOMAS informed the            ueE that the "covert group"
was    still    interested      in obtaining handgun and                rifle    silencers

stating,       "We still need a couple of the,                 urn,   noise cancellers,

and we're gonna decide how we're gonna pay for that so we'll be

back to you on that."                 THOMAS and the          ueE discussed possible
options to barter for the items that THOMAS would like to acquire

from the       ueE.    Options discussed were THOMAS trading homemade

bomb detonators and unregistered handguns that he owns.

       27.      On July 16,      2011/   THOMAS replied via email to a July

15,    2011 email that had been sent to THOMAS by the                            ueE.    The

originating email from the             ueE included two attached videos, the
first video was forty (40)             seconds and the second was fifty-five

(55)    seconds.         The     attached     videos         displayed     a     controlled

explosion that         was    conducted under          the    supervision of        an   FBI

Special Agent Bomb Technician                (SABT),    and showed the detonation

of an FBI SABT built improvised explosive device.                          The    ueE told
THOMAS that the video was of the type of product the                             ueE could
get    for   THOMAS.         THOMAS   sent   the   following          response    from his

email accounta6h2a7b@windstream.net
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"Wonderful.       Imagine!        I    used to do that                for a       living,       and never

thought     to    put   any       aside.         Helluva'n             effect       for    so     small     a

package!         Interested?             You    bet!!!              I'll     show     this       to     Cobra

(ROBERTS),       and then we'll work out what we might be able to swap

for some.        Thanks!"

     28.     During       the         course    of    the          instant        investigation          CHS1

communcated with ROBERTS via e-mail.                                On June 22,           2011,       agents

received     records       showing        there       was      a    Windstream        communications

account    at     ROBERTS'      residence         in the name of Margaret                         Roberts.

Also during the consensually recorded meeting on April 16,                                              2011,

ROBERTS    stated that          he had DSL with Windstream                           (DSL stands          for

Digital     subscriber          line      and        allows         for     user     to        access     the

internet using standard home telephone line) .

     29.         During     the        course    of       the       investigation         of      ROBERTS,

THOMAS and others affiliated with the                               "covert group,        /I    they have

communicated with each other utilizing email,                                     text messaging and

cellular    telephones          for      purposes         of       furthering       their agenda           as

outlined     in    this     affidavit.               Several          of    the     emails       exchanged

between    THOMAS       (ahab627@windstream.net,                      a6h2a7b@windstream.net ,

ROBERTS      (libby1956@windstream.net)                         and        CHS1     discuss        meeting

places     and    times,     training          agendas,            equipment        needs       and     other

issues pertinent to achieving the goals of both their overt and

covert mission.           Further, during the course of the investigation,
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THOMAS         has       emailed      CHS1     hundreds        of    open    source         articles       he

obtained from the internet.                         Some the recent e-mails from ROBERTS

and     THOMAS          include      an     e-mail     from     libby1956@windstream.net                   on

October           25,    2011,      in response         to     CHS1's       e-mail   about        whether

ROBERTS had everything he needed for the upcoming meeting that

was held on October 29, 2011.                         On October 18, 2011, CHS1 received

an e-mail from THOMAS using email addressa6h2a7b@windst.net

concerning THOMAS's                  request        for assistance with establishing a

new militia group.

        30.         On July 18,            2011,    CHS2 placed a consensually recorded

call     to THOMAS.                 CHS2    asked THOMAS who was               in charge of               the

"covert group" and THOMAS affirmed that he was in charge.                                            Later

in the call THOMAS stated,                         "Am I the guy that's leading?                    Yes,    I

am. "        THOMAS           so told CHS2 that the "covert group                     II    intended to

meet         with       the   UCE    about         acquiring        "supplies"    and        to   discuss

potential prices,                referring to their desire to obtain military

grade equipment and weapons.

        31.          On July 18,           2011,     UCE placed a consensually recorded

call         to     THOMAS.          THOMAS        mentioned        the   emailed          videos    of     a

detonated explosive that the UCE had sent to THOMAS, saying that

he had showed it to Cobra                          (ROBERTS)    and that ROBERTS had said,

"Wow!   II        The UCE then asked "Is that what you guys are looking

for?U         and       THOMAS      replied,        uYep,    exactly."           THOMAS       discussed
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trading or bartering some of his unregistered weapons for items

from the DCE.     THOMAS also indicated that ROBERTS might have some

property    to   swap    for    items     from    the   DCE,     indicating     that     he

(THOMAS)    would let      the DCE know about            the possible         trades    "As

soon as r can get word from Cobra (ROBERTS)                     about what he wants

to swap.    r had him put together a list of what he's got so r can

give that    to you,      and then you can pick and choose."                         THOMAS

reaffirmed his desire to acquire silencers                      for   7.62 millimeter

rifles.    THOMAS told the DCE that the "covert group" still had an

interest    in   smaller        caliber     silencers,         but    that    they     were

prioritizing the 7.62 rifle.

     32.    On August 1, 2011, CHS1 consensually recorded a meeting

with THOMAS, ROBERTS and another individual in northeast Georgia.

They talked about acquiring TNT and building their own explosive

devices.    They discussed various types of detonators, but seemed

to focus primarily on using pre-paid cell phones.

     33.    On August 13, 2011 CHS1 consensually recorded a meeting

with ROBERTS at a restaurant in Cornelia,                      Georgia.       THOMAS was

supposed to attend, but just prior to the meeting,                        THOMAS called

to advise he would not be able to make it.                       THOMAS stated that

ROBERTS was fully briefed and could brief CHS1.                        At the meet ing

ROBERTS    provided      CHS1    with     an     rCOM   two    way    radio    for     team

communications.         ROBERTS alleged that the radios had been stolen
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     from the United States Army in Afghanistan.

             34.        A visual inspection of the radio provided to CHS1 by

     ROBERTS revealed the exterior serial numbers and identi                                                   ers have

     been deliberately obliterated.                                    Upon powering up the radio the

     text identifiers assigned to the channels indicate military unit

     nomenclature.                At this time efforts are underway to determine the

     status of the radio via the assigned electronic serial number.

             35.             On   August        20,        2011,        CHS1       consensually            recorded    a

     meeting with THOMAS and ROBERTS at THOMAS                                        I   S   residence.         During

     the meeting         l    THOMAS made the following statement:                                      "We need high

     explosives, not just run of the mill explosives.                                               Because we have

     to    make    I    fabricate,         any         number           of     weapons         types:      claymores   I




 grenades          I    shaped charges            I        RPG rockets,             or bazooka rockets that

     are shaped charges."

             36.             On   September            II,       2011,       UCE     placed         a    consensually

     recorded call to THOMAS.                          THOMAS talked about wanting a silencer

     for a        rifle.           The UCE asked,                  "Is       that     something you plan on

     using?"           THOMAS replied, "Oh yea, oh yea.                              Definitely."

            37.         On September             20,         2011,       CHS1       consensually recorded a

meeting           with        THOMAS     and          the        UCE    at     a    restaurant            in   Lavonia,

Georgia.               Prior to the arrival of the UCE,                               THOMAS talked to CHS1

about wanting a silencer, and he stated,                                           "I'd love it for the MIA.

If        you're        gonna      use     it         as     a    sniper           rifle      and       actually   kill
                                                                  17
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somebody,       which       I   intend   to     do,       your best        bet    is    to    clean the

weapon, ultra clean,              load it with 5 rounds, put the suppressor on,

wipe it down clean, then put the rubber gloves on so when you pick

it up you ain't leavin' prints./I

       38.     During the meeting with the UCE,                        THOMAS agreed to buy a

silencer and conversion parts                        (to make a        rifle      fully automatic)

from the UCE for himself in exchange for a gun that he will trade

to the UCE.            THOMAS also agreed to purchase an explosive device

from the UCE for $1,000 with the cost being split between THOMAS,

ROBERTS      and       CHSI.        THOMAS      and       the    UCE   agreed      to    conduct      the

transaction in about 30 days from their meeting.

       39.     Also during the meeting, the UCE asked THOMAS, "So you're

more interested in the other thing (referring to silencer)                                      first?"

THOMAS replied,         "Yea, we have, uh, a mission in mind, and I want to

get    it carried out."             The UCE also said to THOMAS,                        "I mean,      you

obviously       have    a       target   because          I've    talked     to    you       about   it./I

THOMAS replied, "I do,"

       40.     On September 25, 2011, UCE placed a consensually recorded

call to THOMAS.          The conversation included the following:

UCE:      "Now my question is,                urn,    as far as,       I    mean,      potency,      like

what do you, I mean do you want to take off a pillar at a building,

a car, what?/I

THOMAS:       "A car."
                                                     18
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UCE:        "Okay, you want to be able to take a car off."

THOMAS:        "Yea.   II




UCE:        "So something like you saw in that video is gonna be good."

THOMAS:        "Oh yea. Perfect."

        41.     On October 15, 2011, CHS1 consensually recorded a meeting

with     THOMAS,       ROBERTS         and   others      at   558    Lakeside    Drive,   Toccoa,

Georgia.        CHS1 met with THOMAS and ROBERTS to discuss the purchase

of the explosive device from the UCE.                           The following conversation

occurred:

        CHS1:      "You sent me an email, we pushed this back to November

1 at,   so we're good.               Okay.   All right,        I got,   I got my money.        You

got yours Dan?

                        (unintelligible)

        ROBERTS:            "I'll be okay.    II




        CHS1:       "Do you want             me    to bring     it    to you?   II   (directed to

THOMAS)

        THOMAS:        "Yea.    II




        42.      On October            18,   2011     CHS1    corresponded via        email   with

THOMAS.        In the email exchange it was decided that THOMAS, ROBERTS

and CHS1 will meet later in the week to pool their money together

to buy an explosive device from UCE.

        43.     On October 21, 2011, CHS1 met with THOMAS and ROBERTS at

        a
                                                    19
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restaurant       in   Lavonia,     Georgia.        Before   the    arrival       of    THOMAS,

ROBERTS expressed some concern about buying the explosive device

from the UCE because ROBERTS is concerned the UCE could be a "cop",

but ROBERTS advised he is still going through with the deal and

that he would be with THOMAS at                    the transaction.           After THOMAS

arrived and after they ate, CHS1 gave THOMAS his share of the cost

for the device being purchased.                ROBERTS advised that he would get

his share to THOMAS this week.                ROBERTS also stated that the next

group meeting on October 29,             2011 will be at his residence, which

is located at 1171 Jordan Road, Toccoa, Georgia, 30577.

       44. When ROBERTS has driven to the various meetings described

in this       affidavit,     he   has   usually driven          to his       1990     Red   Ford

Ranger       Pickup      Truck,   license     plate     Georgia        BWX7838      which     is

registered to ROBERTS at his residence located at 1171 Jordan Road,

Toccoa, Georgia.                         Reliability        of         the     Sources        of

Information

       45.     During the course of the investigation of ROBERTS, THOMAS

and others affiliated with the Covert Group, the FBI as utilized to

confidential human sources.              The credibility of CHS1 and CHS2 has

been    demonstrated         by   the   sources'      accurate     recounting          of    the

conversations recorded during meetings with ROBERTS,                          THOMAS,       when

compared to        the    audio and video          recordings     of    the meetings and

physical        surveillance       of    those       meetings      conducted           by    law
                                              20
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enforcement        agents.          Law   enforcement       agents        assisting    with    the

instant investigation have listened to and/or viewed consensually

recorded telephone calls and video recordings.

       46.        CHS1    is   currently      on     bond    for   pending         felony    state

charges.       The FBI administered a polygraph test to CHS1 during the

investigation of a militia group.                     The FBI polygrapher determined

that    CHS1       gave    less      than    truthful       responses         concerning       the

activities of the militia group.

              COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

       47.    As described above and in Attachment B, this application

seeks permission to search for records that might be found on the

PREMISES,      in whatever form they are found.                    One form in which the

records might be found is data stored on a computer's hard drive or

other storage media.            Thus, the warrant applied for would authorize

the    seizure      of    electronic        storage     media      or t     potentially,       the

copying      of    electronically           stored    information,           all    under     Rule

41 (e) (2) (B) .

       48.     I submit that if a computer or storage medium is found at

the residences listed in paragraph 3,                       there is probable cause to

believe those records will be stored on that computer or storage

medium, for at least the following reasons:

       a.      Based      on   my    knowledge,       training l      and     experience       and

               consul tat ion with FBI forensic computer experts,                           I know
                                               21
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       that   computer   files     or   remnants   of   such     files    can   be

       recovered    months   or    even    years   after    they    have    been

       downloaded onto a storage medium, deleted, or viewed via

       the Internet.      Electronic files downloaded to a storage

       medium can be      stored    for   years    at   little    or no    cost.

       Even when files have been deleted, they can be recovered

       months or years later using forensic tools.                 This is so

       because when a person "deletes" a file on a computer, the

       data contained in the file does not actually disappear i

       rather,    that data remains on the storage medium until it

       is overwritten by new data.

b.     Therefore,    deleted files,       or remnants of deleted files,

       may reside in free space or slack space-that is, in space

       on the storage medium that is not currently being used by

       an active file-for long periods of time before they are

       overwritten.      In addition,     a computer's operating system

       may also keep a       record of deleted data in a             "swap"     or

       "recovery" file.

c.     Wholly apart from user-generated files,             computer storage

       media-in     particular,     computers'     internal      hard    drives­

       contain electronic evidence of how a              computer has been

       used, what it has been used for, and who has used it.                    To

       give a few examples, this forensic evidence can take the
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             form of operating system configurations,                        artifacts           from

             operating     system or application operation,                        file      system

             data     structures,        and    virtual       memory    "swap"          or   paging

             files.     computer users typically do not erase or delete

             this     evidence,     because          special    software          is    typically

             required     for     that    task.            However,    it    is        technically

             possible to delete this information.

     d.      Similarly,    files that have been viewed via the Internet

             are sometimes automatically downloaded into a temporary

             Internet directory or "cache."

     49.     Forensic evidence.           As further described in Attachment B,

this application seeks permission to locate not only computer files

that might serve as direct evidence of the crimes described on the

warrant, but also for forensic electronic evidence that establishes

how computers were used, the purpose of their use, who used them,

and when.     There is probable cause to believe that this                                forensic

electronic     evidence     will     be        on    any    computer    in        the     PREMISES

because:

     a.      Data on the storage medium can provide evidence of a file

             that was once on the storage medium but has since been

             deleted or edited,            or of       a    deleted portion of               a   file

              (such as a paragraph that has been deleted from a word

             processing file). Virtual memory paging systems can leave
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        traces       of     information on the               storage medium that            show

        what        tasks    and     processes       were       recently      active.         Web

        browsers,           e-mail       programs,       and        chat     programs    store

        conf              ion information on the storage medium that can

        reveal         information          such        as     online        nicknames        and

        passwords.            Operating          systems        can       record    additional

        information,          such as the attachment of peripherals,                          the

        attachment of USB flash storage devices or other external

        storage media,             and the times the computer was                           use.

        computer file          systems can record information about                           the

        dates files were created and the sequence in which they

        were created.

b.      Forensic evidence on a                   computer or storage                medium can

        also indicate          who has used or controlled the computer or

        storage        medium.           This    "user       attribution"          evidence    is

        analogous to the search for "indicia of occupancy" while

        executing a search warrant at a residence.                              For example,

        registry information, configuration files, user profiles,

        e-mail,       e-mail address books,                  "chat   I"    instant messaging

        logs   I    photographs      I   the presence or absence of mal ware                    I




        and        correspondence         (and    the        data    associated      with

        foregoing, such as file creation and last-accessed dates)

        may be evidence of who used or controlled the computer or
                                            24
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       storage medium at a relevant time.

c.     A person with appropriate familiarity with how a computer

       works can, after examining this forensic evidence in its

       proper context, draw conclusions about how computers were

       used, the purpose of their use, who used them, and when.

d.     The   process     of    identifying         the    exact    files,          blocks,

       registry    entries,         logs,    or      other     forms       of    forensic

       evidence on a storage medium that are necessary to draw

       an accurate conclusion is a dynamic process.                         While it is

       possible to specify in advance the records to be sought,

       computer evidence is not always data that can be merely

       reviewed     by    a        review     team       and   passed           along    to

       investigators.          Whether      data     stored on         a    computer     is

       evidence may depend on other information stored on the

       computer and      the       application of         knowledge        about    how a

       computer    behaves.           Therefore,         contextual          information

       necessary to understand other evidence also falls within

       the scope of the warrant.

e.     Further, in finding evidence of how a computer was used,

       the purpose of its use, who used it, and when, sometimes

       it is necessary to establish that a particular thing is

       not   present     on    a    storage    medium.          For        example,     the

       presence or absence of counter-forensic programs or anti­
                                       25
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             virus programs        (and associated data)       may be relevant to

             establishing the user's intent.

     50.     Necessity      of   seizing    or    copying     entire   computers     or

storage media.      In most cases, a thorough search of a premises for

information that might be stored on storage media often requires

the seizure of the physical storage media and later off-site review

consistent with the warrant.               In lieu of removing storage media

from the premises,         it is sometimes possible to make an image copy

of storage media.          Generally speaking,        imaging is the taking of a

complete electronic picture of the computer's data,                    including all

hidden sectors and deleted files.                 Either seizure or imaging is

often necessary to ensure the accuracy and completeness of data

recorded on the storage media, and to prevent the loss of the data

either from accidental or intentional destruction.                      This is true

because of the following:

     a.      The time required for an examination. As noted above, not

             all evidence takes the form of documents and files that

             can be easily viewed on site.              Analyzing evidence of how

             a computer has been used, what it has been used for, and

             who has used it requires considerable time,                  and taking

             that   much    time   on   premises      could   be    unreasonable.    As

             explained above,       because the warrant calls for forensic

             electronic     evidence,      it    is   exceedingly    likely   that   it
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        will be necessary to thoroughly examine storage media to

        obtain evidence.             Storage media can store a large volume

        of   information.            Reviewing that               information for              things

        described        in    the     warrant            can    take     weeks        or     months!

        depending       on    the volume             of    data    stored!         and would       be

        impractical and invasive to attempt on-site.

b.      Technical requirements.                      computers can be configured in

        several different ways!                     featuring a variety of different

        operating             systems!               application              software!           and

        configurations.               Therefore!               searching       them         sometimes

        requires tools or knowledge that might not be present on

        the search site.             The vast array of computer hardware and

        software available makes                     it difficult to know before a

        search     what       tools       or        knowledge      will       be       required    to

        analyze     the        system      and         its      data     on     the         Premises.

        However!    taking the storage media off-site and reviewing

        it in a controlled environment will allow its examination

        with the proper tools and knowledge.

c.      Variety of        forms      of    electronic media.                   Records         sought

        under     this       warrant      could           be    stored    in       a    variety    of

        storage media formats that may require off site reviewing

        with specialized forensic tools.

51.     Nature     of    examination.                 Based       on    the    foregoing,         and
                                               27
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consistent        with     Rule        41(e) (2) (B),        when        persons        executing       the

warrant conclude that it would be impractical to review the media

on-site,       the warrant         I    am applying          for would permit              seizing or

imaging storage media that reasonably appear to contain some or all

of the evidence described in the warrant, thus permitting its later

examination           consistent       with     the       warrant.         The     examination          may

require techniques,             including but not limited to computer-assisted

scans of the ent                medium, that might expose many parts of a hard

drive    to     human     inspection          in order        to    determine           whether    it    is

evidence described by the warrant.

                                              CONCLUSION

        52.     Based    on     the     aforementioned             factual        information,       your

affiant respectfully submits that that there is probable cause to

believe        that    there     is    now    concealed           evidence,        as    described       in

detail in Attachment B,                 of evidence of the commission of criminal

offenses,        namely,        violation       of        Title    26,     United        States     Code,

Sections 5861(d), 5871, all in violation of                                 Ie 18, United States

Code,     Section        371,     Conspiracy          to     murder       federal        officials       in

violation of Title 18, United States Code,                               Section 1117 and Theft

of Government Property and Title 18,                          United States Code,                 Section

641 is located in the residences more fully described in paragraph

3,   and this evidence,                listed in Attachment B to this affidavit,

which     is     incorporated          herein    by        reference,        is     contraband,         the
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fruits     of    crime,      or   things    otherwise            criminally    possessed,     or

property which is or has been used as the means of committing the

foregoing offenses.

     53.        Based   on    the   aforementioned           factual     information,       your

affiant     respectfully          submits    that       there      is   probable    cause     to

believe     that        THOMAS      and     ROBERTS         conspired     to     possess      an

unregistered silencer and destructive device in violation of Title

26, United State Code, Sections 5861(d), 5871, all in violation of

Title 18, United State Code, Section 371.

     54.        Finally,      because       of        the    ongoing      nature     of      the

investigation, and to ensure the safety of the confidential source

and law enforcement officers involved,                       I    request that the search

warrants,       applications,       complaints,        arrest warrants and affidavits

in support thereof, be SEALED until further order of this Court.




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